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           In the United States Court of Federal Claims
                                               )
 SHUTTLEWAGON, INC.,                           )
                                               )
           Plaintiff,                          )
                                               )
 v.                                            )
                                               )
 THE UNITED STATES,                            )               No. 21-796C
                                               )
          Defendant,                           )               Filed February 12, 2021
                                               )
 v.                                            )
                                               )
 INNOVATIVE QUALITY SOLUTIONS,                 )
 LLC,                                          )
                                               )
          Defendant-Intervenor.                )
                                               )

                                             ORDER

       On February 3, 2021, the government filed a notice of corrective action in the above-
captioned CICA stay override matter stating that the U.S. Department of Transportation has
withdrawn the CICA stay override at issue in this matter and issued a stop -work order for the
contract at issue. ECF No. 27. The government also represents that it intends to file a motion to
dismiss this matter for lack of subject-matter jurisdiction. To date, the government has not filed
a motion to dismiss and oral arguments on plaintiff’s motion for a preliminary injunction are
scheduled for Tuesday, February 16, 2021, at 2:00 p.m. Eastern Time. In light of the foregoing,
the parties shall FILE a joint status report regarding the status of the CICA stay in this case on or
before February 16, 2021, at 10:00 a.m. Eastern Time.

       IT IS SO ORDERED.



                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   Judge
